                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                        )
                                                 )        Case No. 1:15-cr-100
 v.                                              )
                                                 )        Judge Travis R. McDonough
 MICHAEL LUNSFORD                                )
                                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the

 Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the one

 count Superseding Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the

 charge in Count One of the Superseding Indictment, that is of conspiracy to distribute and to

 possess with the intent to distribute a mixture and substance containing methamphetamine, in

 violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (3) adjudicate Defendant guilty of

 the lesser offense of the charge in Count One of the Superseding Indictment, that is of

 conspiracy to distribute and to possess with the intent to distribute a mixture and substance

 containing methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (4)

 defer a decision on whether to accept the plea agreement until sentencing; and (5) find Defendant

 shall remain in custody until sentencing in this matter. (Doc. 132.) Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

 the magistrate judge’s report and recommendation (Doc. 132), pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:



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       (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the

             Superseding Indictment is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

             Superseding Indictment, that is of conspiracy to distribute and to possess with the

             intent to distribute a mixture and substance containing methamphetamine, in

             violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in

             Count One of the Superseding Indictment, that is of conspiracy to distribute and

             to possess with the intent to distribute a mixture and substance containing

             methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until

             sentencing; and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on July 1, 2016 at 2:00 p.m. [EASTERN] before the

             Honorable Travis R. McDonough.

       SO ORDERED.

       ENTER:


                                           /s/Travis R. McDonough
                                           TRAVIS R. MCDONOUGH
                                           UNITED STATES DISTRICT JUDGE




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